     Case 5:14-cv-02224-BRO-DTB Document 1 Filed 10/29/14 Page 1 of 8 Page ID #:1



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11                          UNITED STATES DISTRICT COURT
12
                           CENTRAL DISTRICT OF CALIFORNIA

13   LISA GONZALEZ,                            Case No.:
14                    Plaintiff,               COMPLAINT FOR DAMAGES
15
                              v.               JURY TRIAL DEMANDED
16
     WILSHIRE CONSUMER
17   CREDIT,
18
                  Defendant.
19

20
           1.     LISA GONZALEZ (“Plaintiff”) brings this Complaint for damages,
21
     injunctive relief, and any other available legal or equitable remedies, resulting
22
     from the illegal actions of WILSHIRE CONSUMER CREDIT (“Defendant”), in
23
     negligently and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone,
24
     in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.,
25
     (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff alleges as follows upon
26
     personal knowledge as to herself and her own acts and experiences, and, as to all
27
     other matters, upon information and belief, including investigation conducted by
28
     his attorneys.


                                         COMPLAINT - 1
     Case 5:14-cv-02224-BRO-DTB Document 1 Filed 10/29/14 Page 2 of 8 Page ID #:2



1
            2.      Additionally, this is an action for damages brought by Plaintiff for
2
     Defendant’s violations of the Rosenthal Fair Debt Collection Practices Act, Cal
3
     Civ Code §1788, et seq. (hereinafter “RFDCPA”), which prohibits debt collectors
4
     from engaging in abusive, deceptive, and unfair practices.
5
            3.      The TCPA was designed to prevent calls and text messages like the
6
     ones described herein, and to protect the privacy of citizens like Plaintiff.
7
            4.      In enacting the TCPA, Congress intended to give consumers a choice
8
     as to how corporate similar entities may contact them, and made specific findings
9
     that “[t]echnologies that might allow consumers to avoid receiving such calls are
10
     not universally available, are costly, are unlikely to be enforced, or place an
11
     inordinate burden on the consumer.          TCPA, Pub.L. No. 102–243, § 11. In
12
     support of this, Congress found that:
13

14                  [b]anning such automated or prerecorded telephone
                    calls to the home, except when the receiving party
15
                    consents to receiving the call or when such calls are
16                  necessary in an emergency situation affecting the health
17
                    and safety of the consumer, is the only effective means
                    of protecting telephone consumers from this nuisance
18                  and privacy invasion.
19
     Id. at § 12.
20
            5.      Congress also specifically found that “the evidence presented to the
21
     Congress indicates that automated or prerecorded calls are a nuisance and an
22
     invasion of privacy, regardless of the type of call….” Id. at §§ 12-13.
23
                               JURISDICTION AND VENUE
24
            6.      This Court has federal question jurisdiction over Plaintiff’s TCPA
25
     claims because this cause of action arises out of violations of federal law. 47
26

27
     U.S.C. §227(b).

28
            7.      This Court has supplemental jurisdiction over Plaintiff’s RFDCPA
     claims pursuant to 28 U.S.C. 1367.

                                          COMPLAINT - 2
     Case 5:14-cv-02224-BRO-DTB Document 1 Filed 10/29/14 Page 3 of 8 Page ID #:3



1
            8.    Venue is proper in the United States District Court for the Central
2
     District of California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because
3
     Defendant is subject to personal jurisdiction in the County of San Bernardino,
4
     State of California and Plaintiff resides within the County of San Bernardino,
5
     State of California.
6
                                         PARTIES
7
            9.    Plaintiff is, and at all times mentioned herein was, a citizen and
8
     resident of the State of California. Plaintiff is, and at all times mentioned herein
9
     was, a “person” as defined by 47 U.S.C. § 153 (10).
10

11
            10.   Plaintiff is informed and believes, and thereon alleges, that

12
     Defendant is, and at all times mentioned herein was, a national association and

13   financial institution whose State of Incorporation is California. Defendant, is and
14   at all times mentioned herein was a “person,” as defined by 47 U.S.C. § 153 (10).
15   Plaintiff alleges that at all times relevant herein Defendant conducted business in
16   the State of California and in the County of Santa Clara, and within this judicial
17   district.
18          11.   Plaintiff is a natural person residing in San Bernardino County in the
19   state of California, and is a “debtor” as defined by Cal Civ Code §1788.2(h).
20
            12.   At all relevant times herein, Defendant was a company engaged, by
21
     use of the mails and telephone, in the business of collecting a debt from Plaintiff
22
     which qualifies as a “consumer debt,” as defined by Cal Civ Code §1788.2(f).
23
     Defendant, by servicing consumer home loans, regularly attempts to collect debts
24
     alleged to be due to itself and/or another, and therefore is a “debt collector” as
25
     defined by the RFDCPA, Cal Civ Code §1788.2(c).
26

27

28




                                         COMPLAINT - 3
     Case 5:14-cv-02224-BRO-DTB Document 1 Filed 10/29/14 Page 4 of 8 Page ID #:4



1
                               FACTUAL ALLEGATIONS
2
             13.   On or about December 27, 2012, Plaintiff obtained an equity loan to
3
     be paid in a period of thirty-six months.
4
             14.   During Plaintiff’s loan period, Defendant began to place incessant
5
     calls to Plaintiff’s cellular telephone regarding Plaintiff’s alleged debt. Plaintiff
6
     repeatedly asked Defendant to stop calling her, but Defendant refused Plaintiff’s
7
     request.
8
             15.   As an example, Defendant called Plaintiff on her cell phone on April
9
     29, 2014, approximately twenty-eight times. On that date, Defendant’s calls to
10

11
     Plaintiff’s cell phone began at 7:26 a.m. and did not end until 8:25 p.m. Several

12
     of the calls to Plaintiff were within minutes of each other.

13           16.   During the same time period, Defendant also called Plaintiff on her
14   home phone and work phone in order to collect the alleged debt. Plaintiff notified
15   Defendant on at least one occasion that she was at work, and such calls were not
16   allowed by her employer. However, Defendant continued to call Plaintiff at
17   work.
18           17.   On May 21, 2014, Plaintiff’s counsel sent a notice of representation
19   and request for validation of the debt to Defendant. Defendant has admitted to
20   calling Plaintiff, but has denied any wrongdoing.
21
             18.   The calls Defendant placed to Plaintiff’s cellular telephone were
22
     placed via an “automatic telephone dialing system,” (“ATDS”) as defined by 47
23
     U.S.C. § 227 (a)(1) as prohibited by 47 U.S.C. § 227 (b)(1)(A).
24
             19.   This ATDS has the capacity to store or produce telephone numbers
25
     to be dialed, using a random or sequential number generator.
26
             20.   The telephone number that Defendant, or its agents, called was
27
     assigned to a cellular telephone service for which Plaintiff incurs a charge for
28
     incoming calls pursuant to 47 U.S.C. § 227 (b)(1).


                                         COMPLAINT - 4
     Case 5:14-cv-02224-BRO-DTB Document 1 Filed 10/29/14 Page 5 of 8 Page ID #:5



1
           21.      These calls constituted calls that were not for emergency purposes as
2
     defined by 47 U.S.C. § 227 (b)(1)(A)(i).
3
           22.      All voice messages made by Defendant to Plaintiffs utilized an
4
     “artificial or prerecorded voice” as defined by 47 U.S.C. § 227(b)(1)(A).
5
           23.      Plaintiff did not provide Defendant or its agents with prior express
6
     consent to receive automated voicemails, pursuant to 47 U.S.C. § 227 (b)(1)(A).
7
           24.      These telephone calls by Defendant, or its agents, violated 47 U.S.C.
8
     § 227(b)(1).
9

10
                       FIRST CAUSE OF ACTION
11        NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
                          PROTECTION ACT
12                       47 U.S.C. § 227 ET SEQ.
13
           25.      Plaintiff incorporates by reference all of the above paragraphs of this
14
     Complaint as though fully stated herein.
15
           26.      The foregoing acts and omissions of Defendant constitute numerous
16
     and multiple negligent violations of the TCPA, including but not limited to each
17
     and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
18
           27.      As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
19
     seq, Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
20

21
     every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

22
           28.      Plaintiff is also entitled to and seeks injunctive relief prohibiting
23   such conduct in the future.
24                        SECOND CAUSE OF ACTION
                    KNOWING AND/OR WILLFUL VIOLATIONS OF THE
25                    TELEPHONE CONSUMER PROTECTION ACT
26
                               47 U.S.C. § 227 ET SEQ.

27         29.      Plaintiff incorporates by reference all of the above paragraphs of this
28   Complaint as though fully stated herein.



                                           COMPLAINT - 5
     Case 5:14-cv-02224-BRO-DTB Document 1 Filed 10/29/14 Page 6 of 8 Page ID #:6



1
            30.      The foregoing acts and omissions of Defendant constitute numerous
2
     and multiple knowing and/or willful violations of the TCPA, including but not
3
     limited to each and every one of the above-cited provisions of 47 U.S.C. § 227 et
4
     seq.
5
            31.      As a result of Defendant’s knowing and/or willful violations of 47
6
     U.S.C. § 227 et seq, Plaintiff is entitled to an award of $1,500.00 in statutory
7
     damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
8
            32.      Plaintiff is also entitled to and seeks injunctive relief prohibiting
9
     such conduct in the future.
10

11
                     THIRD CAUSE OF ACTION
     VIOLATION OF ROSENTHAL FAIR DEBT COLLECTION PRACTICES
12                            ACT
13
            33.      §1788.17 of the RFDCPA mandates that every debt collector
14

15   collecting or attempting to collect a consumer debt shall comply with the
16
     provisions of Sections 1692b to 1692j, inclusive, of, and shall be subject to the
17
     remedies in Section 1692k of, Title 15 of the United States Code statutory
18

19   regulations contained within the FDCPA, 15 U.S.C. §1692d, and §1692d(5).
20
            34.      Plaintiff reincorporates by reference all of the preceding paragraphs.
21

22          35.      Defendant’s conduct constitutes numerous violations of the
23
                     RFDCPA, including but not limited to:
24

25
                  a) Causing a telephone to ring repeatedly or continuously
                     to annoy Plaintiff (Cal Civ Code §1788.11(d));
26

27                b) Communicating, by telephone or in person, with
                     Plaintiff with such frequency as to be unreasonable and
28




                                            COMPLAINT - 6
     Case 5:14-cv-02224-BRO-DTB Document 1 Filed 10/29/14 Page 7 of 8 Page ID #:7



1                   to constitute an harassment to Plaintiff under the
2                   circumstances (Cal Civ Code §1788.11(e));
3
                 c) Causing Plaintiffs telephone to ring repeatedly or
4                   continuously with intent to harass, annoy or abuse
5
                    Plaintiff (§1692d(5));

6                d) Communicating with Plaintiff at times or places which
7                   were known or should have been known to be
                    inconvenient for Plaintiff (§1692c(a)(1));
8

9                e) Engaging in conduct the natural consequence of which
                    is to harass, oppress, or abuse Plaintiff (§1692d)); and
10

11               f) Repeatedly contacting Plaintiff at his/her place of
12                  employment after being informed that such calls are
                    inconvenient to Plaintiff and violate the policy of
13
                    Plaintiff’s employer (§1692c(a)(1)(3)).
14

15                                 PRAYER FOR RELIEF
16         Wherefore, Plaintiff respectfully requests the Court grant Plaintiff the
17   following relief against Defendant:
18    FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATIONS OF THE
19
                      TCPA, 47 U.S.C. § 227 ET SEQ.
20         36.      As a result of Defendant’s negligent violations of 47 U.S.C. §
21   227(b)(1), Plaintiff seeks $500.00 in statutory damages, for each and every
22   violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
23         37.      Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting
24
     such conduct in the future.
25
           38.      Any other relief the Court may deem just and proper.
26

27

28




                                           COMPLAINT - 7
     Case 5:14-cv-02224-BRO-DTB Document 1 Filed 10/29/14 Page 8 of 8 Page ID #:8



1
           SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL
2               VIOLATIONS OF THE TCPA, 47 U.S.C. § 227 ET SEQ.
3          39.    As a result of Defendant’s knowing and/or willful violations of 47
4    U.S.C. § 227(b)(1), Plaintiff seeks $1,500.00 in statutory damages, for each and
5    every violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
6
           40.    Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting
7
     such conduct in the future.
8
           41.    Any other relief the Court may deem just and proper.
9
                         THIRD CAUSE OF ACTION
10   VIOLATION OF ROSENTHAL FAIR DEBT COLLECTION PRACTICES
11
                                     ACT
         42. Statutory damages of $1000.00 pursuant to the Rosenthal Fair Debt
12
                  Collection Practices Act, Cal. Civ. Code §1788.30(b),
13

14
           43.    Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair

15                Debt Collection Practices Act, Cal. Civ Code § 1788.30(c), and
16         44.    Any other relief that this Honorable Court deems appropriate.
17                                    TRIAL BY JURY
18         45.    Pursuant to the seventh amendment to the Constitution of the United
19
     States of America, Plaintiff is entitled to, and demands, a trial by jury.
20

21                Respectfully submitted this 29th day of October, 2014
22

23

24
                         LAW OFFICES OF TODD M. FRIEDMAN, P.C.
25

26
                                       By: /s/ Todd M. Friedman
                                           Todd M. Friedman
27                                         Law Offices of Todd M. Friedman
28                                         Attorney for Plaintiff



                                          COMPLAINT - 8
